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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DARIO DZANANOVIC, individually and on               )
behalf of similarly situated individuals,           )
                                                    )
                      Plaintiffs,                   )       Case No. 1:21-cv-06925
                                                    )
v.                                                  )       Hon. Andrea R. Wood
                                                    )
BUMBLE, INC., BUZZ HOLDINGS, L.P., and              )
BUMBLE TRADING LLC                                  )       Mag. M. David Weisman
                                                    )
                      Defendants.                   )


              DEFENDANTS BUMBLE INC., BUZZ HOLDINGS L.P., AND
                 BUMBLE TRADING LLC’S MOTION TO DISMISS

       Defendants Bumble Inc., Buzz Holdings L.P. and Bumble Trading LLC respectfully

request that this Court dismiss Plaintiff Dario Dzananovic’s Amended Class Action Complaint in

its entirety under Federal Rule of Civil Procedure 12(b)(2). The grounds for this Motion are set

forth in Defendants’ Memorandum in Support of their Motion to Dismiss filed

contemporaneously with this Motion.




DEFENDANTS’ MOTION TO DISMISS AM. COMPL.
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Dated: May 27, 2022                         Respectfully submitted,

                                            By: /s/ John Ellis
                                              Attorney for Specially Appearing
                                              Defendants

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                                  CERTIFICATE OF SERVICE

       I, John C. Ellis, an attorney, certify that, on May 27, 2022, the foregoing was filed

electronically with the Court’s CM/ECF system, and that notice of this filing was sent by

electronic mail to all parties by operation of the Court’s electronic filing system or by mail to

anyone unable to receive electronic filings as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF system.


                                                       /s/ John Ellis




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